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                         INDIVIDUAL PRACTICES AND RULES OF
                       MAGISTRATE JUDGE JOSEPH A. MARUTOLLO
                                    United States District Court
                                   Eastern District of New York
                            Theodore Roosevelt United States Courthouse
                                      225 Cadman Plaza East
                                    Brooklyn, New York 11201

                               Courtroom: N324 / Chambers: N331
                              Telephone: 718-510-9700 (Chambers)
                          Email: Marutollo_Chambers@nyed.uscourts.gov
                                Courtroom Deputy: Esther Glasgow

                                       Updated October 6, 2023

       Unless otherwise ordered by the Court, matters before Judge Marutollo will be conducted
pursuant to the following practices and rules.

I.     CONSENTING TO MAGISTRATE JUDGE JURISDICTION

       Pursuant to Administrative Order No. 2023-23, the Eastern District of New York Board of
Judges has established a two-year pilot program concerning the assignment of civil cases to
Magistrate Judges. Should the parties consent to the jurisdiction of Judge Marutollo, the parties shall
promptly file the Notice of Option to Consent to Magistrate Judge Jurisdiction.

II.    COMMUNICATIONS WITH CHAMBERS

       A.      Written Communications

        Except as provided below, communications with Chambers shall be by letter electronically
filed with the Court, with copies simultaneously delivered or mailed to any pro se litigant. Counsel
must provide a brief description of the subject matter of the letter in the ECF entry field (e.g., “Joint
Letter in connection with Initial Status Conference”) not simply, “Letter.” No hard copies of letters
shall be delivered to Chambers or to the Court.

       B.      Telephone Calls and Faxes

        Telephone calls to Chambers are permitted only in emergency situations requiring immediate
attention. Faxes to Chambers are not permitted.

       C.      Courtesy Copies

       Courtesy copies should only be provided to Chambers upon request of the Court.



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         D.      Required Notification to Chambers

      A party or the parties shall immediately notify Chambers                              via    email
(Marutollo_Chambers@nyed.uscourts.gov) if any of the following events occur:

                 1.     any motion has been referred to Judge Marutollo by the presiding District
                        Judge;

                 2.     the parties have reached a settlement; or

                 3.     any party has reason to believe that there may be grounds that Judge Marutollo
                        should be recused from any pending civil or criminal matter due to his direct
                        or indirect involvement in the matter during the time that he served in the
                        United States Attorney’s Office, or for any other reason. See 28 U.S.C. § 455
                        (judicial recusal statute); Local Civil Rule 7.1.1 (per the Committee Note, the
                        disclosure obligation imposed on the parties in this rule is designed “to serve a
                        useful purpose in helping to ensure that Judges will be given prompt notice of
                        changes that might require consideration of possible recusal”).

III.     CONFERENCES

         A.      Appearances of Counsel

         Any attorney appearing before the Court must first enter a notice of appearance on ECF. The
Court strongly encourages the participation of junior lawyers in all court proceedings. As the late
United States District Judge Jack B. Weinstein once stated, it is “important for everyone, and for the
litigation process, that the upcoming generation understands the fundamentals and just gets up on
their feet.” Where junior lawyers are familiar with the matter under consideration, but are not
experienced in arguing before a court, they should be encouraged to actively participate. The Court
is amenable to permitting more than one lawyer to argue for a party, especially where it creates an
opportunity for a junior lawyer to argue.

        The Court recognizes that the decision of who conducts each proceeding is with the lawyer in
charge of each case, and ultimately the represented party. In any appearance, all attorneys must have
authority to bind the party that they represent consistent with the proceeding and should be prepared
to address any matters likely to arise. The counsel of record must still also appear alongside any
participating junior lawyer, unless counsel has separately sought and received permission not to
appear.

         B.      Initial Conference

        Pursuant to Fed. R. Civ. P. 26(f), the parties must meet and confer prior to the Initial
Conference to discuss the nature and basis of their claims and defenses, the possibilities for a prompt
settlement, and a proposed discovery plan. To assist the parties, the Court will provide the parties
with a proposed Discovery Plan and Scheduling Order prior to the Initial Conference. 1 The proposed

1
    The Proposed Discovery Plan and Scheduling Order may also be downloaded from the Court’s website.
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Discovery Plan and Scheduling Order must be completed and filed no later than three (3) business
days prior to the Initial Conference pursuant to the order setting forth the date of the Initial
Conference. The parties should discuss their discovery needs thoroughly in advance of the Initial
Conference so that the Court may adopt a realistic schedule in conjunction with the assigned District
Judge’s Rules. Once a Discovery Plan and Scheduling Order has been so ordered by the Court, the
discovery deadlines will be enforced and amended only upon a showing of good cause.

       C.      Settlement Conference

               1.       At least fourteen (14) days prior to the Settlement Conference, Plaintiff’s
                        counsel shall submit a settlement demand to Defendant’s counsel with a brief
                        explanation of why such a settlement is appropriate. No later than seven (7)
                        days prior to the settlement conference, Defendant’s counsel shall submit an
                        offer to Plaintiff’s counsel with a brief explanation of why such a settlement
                        is appropriate.

               2.        At least five (5) business days prior to the Settlement Conference, the parties
                         shall submit ex parte settlement letters to Chambers by email
                         (Marutollo_Chambers@nyed.uscourts.gov). The ex parte settlement letters
                         should include the following: (a) the communicated demand or offer as
                         prescribed in Rule III.C.1 above; (b) the strengths and weakness of their case;
                         and (c) any legal arguments in support of their settlement position with
                         citations to relevant authorities. As these ex parte statements will be treated as
                         confidential and will not be docketed, they should include a realistic
                         assessment of the party’s settlement position. The ex parte letters shall be
                         limited to five (5) pages exclusive of attachments.

               3.        Parties are required to personally attend the conference even if represented
                         by counsel. In the case of a corporate party, the individual attending the
                         conference should be a corporate employee with full authority to settle the
                         matter. In the case of a Government or municipal entity requiring the
                         approval of a body, such as a board, legislature, or agency, the individual
                         attending the conference must be fully authorized to approve and submit a
                         recommendation to that governing body or to contact, in real time, the person
                         authorized to make such a recommendation. An insured party shall appear
                         with a representative of the insurer(s) authorized to negotiate, and who has
                         full authority to settle the matter.

IV.    REQUESTS FOR ADJOURNMENTS OR EXTENSIONS OF TIME

        All requests for adjournments of a court conference or extensions of time shall be filed on
ECF as a “Motion” (not a “Letter”) at least two (2) business days prior to the scheduled appearance
or deadline. Any adjournment of a court appearance being requested less than two (2) business days
prior to the scheduled appearance or deadline shall be accompanied by a telephone call to Chambers
advising the Court of the request. All requests for adjournments or extensions must state the original
date of the conference or deadline; the reasons for the adjournment or extension; the number of
previous requests for adjournment or extension, and whether those requests were granted; whether
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the adversary consents, and if not, the reasons given by the adversary for refusing to consent; and if
the requested adjournment or extension affects any other scheduled dates.

V.     NON-DISPOSITIVE MOTIONS

        As a general matter, and unless otherwise directed by the presiding District Judge, all non-
dispositive pre-trial motions, including discovery motions, are to be made to Judge Marutollo.

       A.      Motions for Admission Pro Hac Vice

        A motion for admission pro hac vice, together with a proposed order admitting the attorney
pro hac vice, shall be served and filed electronically at least seven (7) business days prior to the return
date designated in the notice of motion. Although there is no need to file a memorandum of law, this
motion must comply with Local Civil Rule 1.3. These motions will be on submission. If any party
objects to the motion, opposition papers must be served and filed at least two (2) business days prior
to the return date. No reply papers are permitted.

       B.      Discovery Motions

         Parties must make a good faith effort to resolve disputes before making any discovery motion.
See Fed. R. Civ. P. 37(a)(1); Local Civil Rule 37.3(a). In the event that the parties are unable to
resolve a discovery dispute, the parties must write to the Court and describe their dispute in a single
letter, jointly composed. The joint letter shall be filed on ECF as a “Motion” (not a “Letter”). Each
party’s portion of the joint submission shall be limited to three (3) pages. See Local Civil Rule
37.3(c). In the event that the parties are unable to agree upon a single, joint letter, the parties may
submit separate letters within the time limits set forth in Local Civil Rule 37.3(c), but must
demonstrate good cause as to why they were unable to submit a joint letter. The parties shall adhere
to the meet and confer requirements set forth in Fed. R. Civ. P. 37(a)(1) and should describe those
efforts in their submission. After submission of the joint letter, the Court may schedule a conference
to discuss the dispute. If the dispute cannot be resolved during the conference, the Court may order
the parties to brief a motion to compel or for a protective order. The parties should not file any
discovery materials on ECF unless necessary for the joint letter or Court-ordered discovery motion.

       C.      Non-Dispositive, Non-Discovery Motions

        For non-dispositive, non-discovery pre-trial disputes, the parties must first make good faith
efforts to resolve the disputes prior to seeking the Court’s intervention pursuant to Local Civil Rule
37.3(a). Parties are encouraged to make non-dispositive motions by letter. Parties seeking judicial
resolution of such issues should comply with Local Civil Rule 7.1(d) or 37.3(c), as applicable. The
Court expects parties to exercise judgment as to the length of the letter motion. If necessary, after
submission of the letter motion, the Court may advise the moving party to file a formal motion
pursuant to Local Civil Rules 6.1 and 7.1.

VI.    DISPOSITIVE MOTIONS

       Dispositive motions, such as motions to dismiss and motions for summary judgment, must be
made to the presiding District Judge, in accordance with his or her Individual Practices and Rules,
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unless the parties have consented to Judge Marutollo for all purposes in accordance with 28 U.S.C.
§ 636(c)(1).

        Where the parties have consented to Judge Marutollo, the following rules apply.

        A.       Pre-Motion Conferences

                 1.        Pre-motion conferences are not required in Social Security appeals, habeas
                           cases, or cases in which one or more parties are proceeding pro se. In all other
                           cases, a party must request a pre-motion conference before filing any
                           dispositive motion pursuant to Fed. R. Civ. P. 12 or 56; any motion for a change
                           of venue; or a motion to amend a pleading pursuant to Fed. R. Civ. P. 15 when
                           leave of court is required. 2

                 2.        To request a pre-motion conference, the moving party is to file and serve a pre-
                           motion conference letter, not to exceed three (3) pages, setting forth the basis
                           for the anticipated motion. 3 The letter shall include citations to relevant
                           authority and should provide a brief overview of the anticipated motion. A
                           party’s submission of a pre-motion letter seeking leave to file a pre-answer
                           motion to dismiss will stay that party’s obligation to answer or move against
                           the complaint through the date of the pre-motion conference.

                 3.        All parties served with the moving party’s pre-motion conference letter are
                           required to serve and file a letter response within five (5) business days of
                           service of the moving party’s letter. The response shall not exceed three (3)
                           pages. Replies are not permitted.

                 4.        In appropriate cases, the Court may construe the pre-motion conference letter,
                           along with counsel’s arguments at the pre-motion conference, as the motion
                           itself. The Court may also set a briefing schedule without a pre-motion
                           conference if the Court determines that a pre-motion conference will not be a
                           useful expenditure of the parties’ time.

                 5.        If any party concludes in good faith that delaying the filing of a motion, in
                           order to comply with any aspect of these Individual Practices and Rules, will
                           deprive the party of a substantive right, the party may file the motion within
                           the time required by the Federal Rules of Civil or Appellate Procedure,
                           together with an explanation of the basis for that conclusion.



        2
           When submitting a pre-motion letter regarding a request to amend a pleading, the moving party shall
attach: (1) the proposed amended pleading and (2) a redlined comparison of the operative pleading and
proposed amended pleading.
         3
           If the pre-motion conference letter is filed in anticipation of a motion pursuant to Fed. R. Civ. P. 56,
a statement of facts on a motion for summary judgment (a Local Civil Rule 56.1 Statement) does not need to
be filed.

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         B.      Motion Papers

                 1.      Motion papers shall be filed promptly. Parties should not hold motion papers
                         until all papers are complete. The Court does not follow a “bundling rule.”

                 2.      Unless prior permission has been granted, memoranda of law in support of,
                         and in opposition to, dispositive motions is limited to twenty-five (25) double-
                         spaced pages, not including tables of contents, tables of authorities, exhibits,
                         appendices, or attachments. Reply memoranda are limited to ten (10) double-
                         spaced pages, not including tables of contents, tables of authorities, exhibits,
                         appendices, or attachments.

                 3.      All memoranda of law shall be produced in 12-point font, with footnotes in 11-
                         point font, and shall have one-inch margins on all sides. All memoranda must
                         be filed in a text-searchable format.

                 4.      For all Social Security appeals filed on or after December 1, 2022, the parties
                         shall comply with the procedures set forth in Administrative Order 2023-06.
                         Joint stipulations of facts are not required for Social Security cases.

VII.     CONFIDENTIALITY ORDERS

       To assist the parties, the Court has provided a form Confidentiality Order that the parties may
submit to the Court for approval to protect the confidentiality of information exchanged in discovery. 4
If necessary, the parties may submit to the Court both a redlined version identifying the proposed
changes, the reason for the changes, and a clean version of the proposed confidentiality order for the
Court to adopt.

VIII. DISPUTES DURING ONGOING DEPOSITIONS

        Parties encountering disputes during depositions shall first make every effort to resolve the
dispute among themselves. Should the parties be unable to reach a satisfactory resolution regarding
the dispute, the parties are directed to contact Chambers immediately by telephone with all parties on
the line. The Court will either resolve the matter at that time or instruct the parties to move on to
other issues in the deposition until such time as the Court can address the dispute.

IX.      PRE-TRIAL SUBMISSIONS

        The parties must file a joint proposed pre-trial order in the format prescribed by the presiding
District Judge on or before the deadline set by the Court or as set forth in the presiding District Judge’s
Individual Practices and Rules.

      Where the parties have consented to Judge Marutollo, the following rules apply for pre-trial
submissions.


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    The Confidentiality Order may also be downloaded from the Court’s website.
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      A.    Joint Proposed Pre-Trial Orders

            Unless otherwise ordered by the Court, within sixty (60) days from the date for the
            completion of discovery in a civil case, the parties shall submit to the Court a joint
            proposed pre-trial order that includes the following:

            1.        The full caption of the action;

            2.        The names, addresses (including firm names), telephone number, and email
                      addresses of trial counsel;

            3.        A brief statement by Plaintiff as to the basis of subject-matter jurisdiction, and
                      a brief statement by Defendant as to the presence or absence of subject-matter
                      jurisdiction, each of which shall include citations to all authority relied on and
                      relevant facts as to citizenship and jurisdictional amount;

            4.        A brief summary by each party of the claims and defenses that the party has
                      asserted that remain to be tried—without recital of evidentiary matters but with
                      citations to all statutes on which the party has relied—and of the claims and
                      defenses that the party has previously asserted that are not to be tried;

            5.        A statement by each party as to whether the case is to be tried with or without
                      a jury, and the number of trial days needed;

            6.        Any stipulations or agreed statements of fact or law that have been agreed to
                      by all parties;

            7.        A statement by each party as to the witnesses whose testimony is to be offered
                      in the party’s case-in-chief, indicating whether such witnesses will testify in
                      person or by deposition. The statement should also include a brief narrative of
                      the expected testimony for each witness. Only listed witnesses will be
                      permitted to testify except when prompt notice has been given and good cause
                      shown;

            8.        A designation by each party of those portions of any deposition testimony to
                      be offered in its case-in-chief, with any cross-designations and objections by
                      any other party;

            9.        A table by each party of exhibits to be offered in the party’s case-in-chief, with
                      an indication as to whether any party objects to any such exhibits and a brief
                      statement of the nature of the objection (e.g., “relevance,” “authenticity,”
                      “hearsay”), and a brief response to those objections. The table format below
                      should be followed:

                        Exhibit             Description       Objection(s)          Brief response to
                                                                                    the Objection(s)

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                         All exhibits must be pre-marked in the order in which they are expected to be
                         used (using numerals for Plaintiff’s exhibits and letters for Defendant’s
                         exhibits). Parties are expected to resolve before trial all issues of authenticity
                         or chain of custody. Only exhibits listed will be received in evidence, except
                         for good cause shown.

       B.      Filings Prior to Trial

               1.        All motions addressing any evidentiary or other issues that should be resolved
                         in limine shall be filed at least thirty (30) days before the trial. Responses, if
                         any, shall be due seven (7) days later. Oral argument will be scheduled if
                         necessary.

               2.        For jury trials, proposed jury instructions, voir dire questions, and a jury
                         verdict sheet shall be filed at least ten (10) days prior to the start of the trial.
                         These proposed pre-trial submissions should also be submitted to Chambers
                         via email (Marutollo_Chambers@nyed.uscourts.gov) in Microsoft Word
                         format. If a party believes that it would be useful, a pretrial memorandum shall
                         also be filed at least ten (10) days prior to the start of the trial.

               3.        For non-jury trials, if a party believes that it would be useful, a pretrial
                         memorandum shall be filed at least ten (10) days prior to the start of the trial.

X.     INTERPRETER SERVICES IN CIVIL CASES

        Interpreter services are not provided by the Court in civil cases. If a party speaks a language
other than English, the party must arrange to conduct the case in English. If a non-English speaking
party represented by an attorney is ordered to appear for a court conference, that party must bring a
professional interpreter if translation services are needed. A pro se party may bring an English-
speaking friend or family member to court conferences. Persons acting as interpreters must translate
exactly what is said and may not advocate for the party.

XI.    SEALING OF SUBMISSIONS

        No document may be filed with the Clerk under seal without an order of this Court addressing
the specific documents to be sealed. Any application to seal shall be accompanied by an affidavit or
affidavits and a memorandum of law, demonstrating that the standards for sealing have been met and
specifically addressing Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006) and any
other controlling authority. The application shall also include a proposed redacted version of the
document(s) in question for public docketing. Nothing herein is intended to alter or modify the
applicability of Fed. R. Civ. P. 5.2. The redactions expressly authorized by Rule 5.2 may be made
without application to the Court. Instructions for filing sealed documents in civil cases are linked
here; instructions for filing sealed documents in criminal cases are linked here.



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